                      Case 1:20-cv-03604-EGS Document 10 Filed 12/15/20 Page 1 of 4

AO 440 (Rev. 06/12; DC 3/15) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                    for the
                                                             District of Columbia


            Community Oncology Alliance, Inc.                         )
                                                                      )
                                                                      )
                                                                      )
                            Plaintiff(s)                              )
                                v.                                    )       Civil Action No. 20-3604 -EGS
                                                                      )
    U.S. Dep't of Health and Human Services, et al.                   )
                                                                      )
                                                                      )
                                                                      )
                           Defendant(s)                               )

                                                    SUMMONS IN A CML ACTION

To: (Defendant's name and address) The Honorable William Barr
                                   U.S. Department of Justice
                                   950 Pennsylvania Avenue NW
                                   Washington, DC 20530




          A lawsuit has been filed against you.

        Within 21 days after service of this summons on you (not counting the day you received it)-or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3)-you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiffs attorney,
whose name and address are: Kierstan L. Carlson
                                 BLANK ROME LLP
                                           1825 Eye St. NW
                                           Washington, DC 20006



       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                                ANGELA D. CAESAR. CLERK OF COURT

                                                                                          /s/ Reginald D. Johnson
Date:             12/15/2020
                                                                                          Signature of Clerk or Deputy Clerk
                        Case 1:20-cv-03604-EGS Document 10 Filed 12/15/20 Page 2 of 4

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No. 20-3604 -EGS

                                                       PROOF OF SERVICE
                       (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (I))

           This summons for (name of individual and title, if any)
 was received by me on (date)

           0 I personally served the summons on the individual at (place)
                                                                                on (date)                            ; or

           0 I left the summons at the individual's residence or usual place of abode with (name)

          ------------------
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               ' and mailed a copy to the individual's last known address; or

           0 I served the summons on (name ofindividual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                            ; or

           0 I returned the summons unexecuted because                                                                             ; or

           0 Other (specify):




           My fees are$                            for travel and$                   for services, for a total of$          0.00


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server's signature



                                                                                        Printed name and title




                                                                                            Server's address

 Additional information regarding attempted service, etc:
                      Case 1:20-cv-03604-EGS Document 10 Filed 12/15/20 Page 3 of 4

AO 440 (Rev. 06/12; DC 3/15) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                    for the
                                                             District of Columbia


           Community Oncology Alliance, Inc.                          )
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                                                                      )
                            Plaintiff(s)                              )
                                v.                                    )       Civil Action No. 20-3604 -EGS
                                                                      )
    U.S. Dep't of Health and Human Services, et al.                   )
                                                                      )
                                                                      )
                                                                      )
                           Defendant(s)                               )

                                                    SUMMONS IN A CML ACTION

To: (Defendant's name and address) Michael R. Sherwin
                                   Acting U.S. Attorney
                                   U.S. Attorney's Office for the District of Columbia
                                   555 4th Street NW
                                   Washington, DC 20001



          A lawsuit has been filed against you.

        Within 21 days after service of this summons on you (not counting the day you received it)-or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3)-you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiffs attorney,
whose name and address are: Kierstan L. Carlson
                                 BLANK ROME LLP
                                           1825 Eye St. NW
                                           Washington, DC 20006



       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                                ANGELA D. CAESAR. CLERK OF COURT


Date:             12/15/2020                                                         /s/ Reginald D. Johnson
                                                                                          Signature of Clerk or Deputy Clerk
                        Case 1:20-cv-03604-EGS Document 10 Filed 12/15/20 Page 4 of 4

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No. 20-3604

                                                       PROOF OF SERVICE
                       (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (I))

           This summons for (name of individual and title, if any)
 was received by me on (date)

           0 I personally served the summons on the individual at (place)
                                                                                on (date)                            ; or

           0 I left the summons at the individual's residence or usual place of abode with (name)

          ------------------
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               ' and mailed a copy to the individual's last known address; or

           0 I served the summons on (name ofindividual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                            ; or

           0 I returned the summons unexecuted because                                                                             ; or

           0 Other (specify):




           My fees are$                            for travel and$                   for services, for a total of$          0.00


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server's signature



                                                                                        Printed name and title




                                                                                            Server's address

 Additional information regarding attempted service, etc:
